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FoR THE WESTERN DISTRICT oF TENNESSEE 95 H'~“H’ 33 PM w 27

WESTERN DIVISION l,‘_lOWR_|_ ,
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UNITED STATES OF AMERICA,

Plaintiff, Case No.: 04-20127 D

v.
JEROME REED,

Del`endant.

 

ORDER

 

Before the Court is the motion of the Governrnent for reconsideration Upon review of the
motion and the case as a Whole, the Couit iind that the Government has demonstrated cause for

reconsideration

Accordingly, P]aintiff’s motion is GRANTED and the Cierk is directed to set a hearing on

reopened proof in this matter.

IT IS SO ORDERED this Z.Q day of

  

 

   

UNITED sATE DISTRICT COURT - WETERN DISTRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 61 in
case 2:04-CR-20127 Was distributed by faX, mail, or direct printing on
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Honorable Bernice Donald
US DISTRICT COURT

